     Case 1:09-cr-00088-PB   Document 77    Filed 10/14/09   Page 1 of 2




                     UNITED STATES DISTRICT COURT

                      DISTRICT OF NEW HAMPSHIRE


United States of America,

     v.                          Criminal Case No. 09-cr-88-1-5-SM

Juan G. Hernandez,
Janeth Sarmiento,
Marco Garcia,
Jose Cisneros, and
Ciro L. Garcia


                             PRETRIAL ORDER


     A final pretrial conference was held on October 13, 2009.

Present were Assistant United States Attorney Terry L. Ollila,

Esq., on behalf of the government.         Michael J. Iacopino, Esq.,

appeared on behalf of Defendant Hernandez; Theodore M. Lothstein,

Esq., appeared on behalf of Defendant Sarmiento; Donald A.

Kennedy, Esq., appeared on behalf of Defendant Marco Garcia;

Eric R. Wilson, Esq., appeared on behalf of Defendant Cisneros;

and James D. Gleason, Esq., appeared on behalf of Defendant Ciro

Garcia.

     The government will be filing a superseding indictment in

this case.   Defendants will be rearraigned.         Trial on the

superseding indictment will be set for December 8, 2009.              A

further final pretrial conference is scheduled for December 1,

2009, at 3:00 p.m.
      Case 1:09-cr-00088-PB   Document 77   Filed 10/14/09   Page 2 of 2



      SO ORDERED.



                                  ____________________________
                                  Steven J. McAuliffe
                                  Chief Judge

October 14, 2009

cc:   Terry L. Ollila, Esq., AUSA
      James D. Gleason, Esq.
      Charles J. Keefe, Esq.
      Andrew M. Kennedy, Esq.
      Donald A. Kennedy, Esq.
      Theodore M. Lothstein, Esq.
      Michael J. Iacopino, Esq.
      U.S. Probation
      U.S. Marshal




                                     2
